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Home, PA 15747

Judge Mary F. Walrath
United States Bankruptcy Court, District of Delaware

824 North Market Street, 5th Floor

Wilmington, DE 19801
Via postal mai! and email due to COVID-19: Cotherine_Farrell@deb.uscourts.gov & HelpDeskDE@deb.uscourts.gov

January 28, 2021

RE: Ferrellgas Partners, L.P. (Case # 21-10021-MFW) Request for an Official Equity Committee

Honorable Walrath:

lam a holder of record of 45,100 of the common units issued by Ferrellgas Partners, L.P. (OTC: FGPR), which | inherited

from my father after he sold the family propane business, Beatty's Gas, to Mr. James Ferrell. Based on FerrellGas’ public filings, |

understand | am one of the company’s 10 largest unitholders of record. | believe an Official Committee of Equity Unitholders must
be immediately formed in the matter because FerrellGas is a solvent company with significant unitholder value.

i was shocked to recently learn Mr. Ferrell is attempting to utilize the Chapter 11 bankruptcy process to massively dilute
common unitholders after his disastrous $1 billion speculation on the crude oil midstream business with the failed Eddystone
acquisition. FerrellGas’ Disclosure Statement failed to include any financial projections, so it is hard to understand what unitholders

were even asked to vote on. Even more frustrating, Mr. Ferrell is paying himself a $3.5 million cash bonus as part of this bankruptcy!

FerrellGas’ core propane distribution business and unrivaled BlueRhino portable propane tank franchise are profitable

businesses with consistent cash flows, valuable real estate and equipment assets, and almost 5300 million in cash on its balance

sheet as of the most recent quarterly report. Unitholders must have a seat at the table to determine the future of FerreilGas!
| greatly appreciate your prompt attention to this matter so that my children can be part of their Grandfather's propane

legacy in western Pennsylvania.

Sincerely-

Muen Sred we

Gwen Sirochman

CC via email
T. Patrick Tinker, Esq., thomas.p.tinker@usdoj.gov

David L. Buchbinder, Esq., david.!.buchbinder@usdoj.gov

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Appendix A — Preliminary Statement

 
 

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: | Chapter 11
|

FERRELLGAS PARTNERS, L.P. et al., | Case No. 21-10021 (MFW)
|

Debtors. |

 

EMERGENCY MOTION FOR AN ORDER APPOINTING AN OFFICIAL COMMITTEE OF EQUITY

SECURITY HOLDERS PURSUANT TO SECTION 1102(A)(1) OF THE BANKRUPTCY CODE

1. As a beneficial owner of the common units issued by Ferrellgas Partners, L.P. [CUSIP:
315293100 / OTC: FGPRQ](“FerrellGas” and, collectively with its affiliated debtors, the “Debtors”
or the “Company”), pro se private investor Kevin Barnes (the “Unitholder”) seeks the emergency
entry of an order under Section 1102(a)(2) of Title 11 of the United States Code, 11 U.S.C. §§ 101
et seq. (the “Bankruptcy Code”) directing the immediate appointment of an official committee of

equity security holders (an “Equity Committee”) in the Debtors’ pending Chapter 11 case.
INTRODUCTION

2. The Debtors’ own Voluntary Petition for Bankruptcy dated January 11, 2021
proposes to keep common unitholders outstanding, subject to objectively massive and unequitable
dilution, and the proposed “Valuation Analysis” by the Debtors’ own financial advisor, Moelis &
Company LLC, demonstrates over $130 million could be available for distribution to unitholders.
These facts are more than enough to prove that FerrellGas is not “hopelessly insolvent” — all that is
required to show at this stage to obtain appointment of an equity committee. Finally, the Debtors’
self-interested and fatally-flawed Disclosure Statement, which failed to include any financial
projections, details underlying the Moelis analysis or indication of “market testing,” proffered by

the conflicted Chairman/CEO, Mr. James Ferrell, renders MUTE any purported Consent Solicitation.
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"IT IS ALWAYS DARKEST JUST BEFORE THE DAY DAWNETH”™!

3. While the global COVID-19 pandemic has caused untold human suffering and
economic dislocations, FerrellGas is “operationally sound,” uniquely situated to continue to benefit
from the increasing volumetric propane demand paradigm shift that has occurred in its core markets
and has commenced these Chapter 11 cases “to increase its financial flexibility.”’ First, FerrellGas
is the 2° largest distributor of propane for heating, cooking, and water heaters in the United States,
servicing over 700k residential customers in all 50 states. As working, schooling, fitness, and
“nesting” at home appear to be lasting consumer trends after the rapid adoption of web-
conferencing and other technologies, residential propane demand will remain elevated as more
people are home during the traditional 9-5 and beyond due to home thermostats being kept
warmer, more home cooking, and more home hot water usage. Second, the Company owns the #1

propane tank exchange brand, BlueRhino®, whose portable tanks are used Tid

  
   
 

  

Fee ded

nationwide by residential and commercial customers for BBQing, patio heaters, he aha

firepits, and mosquito elimination. BlueRhino® is distributed at over 62,000 retail
locations, including distribution partnerships with FoodLion, Kroger, Lowe’s, RiteAd, Walgreens, and
Walmart. In FerrellGas’ most recent quarterly results ending 10/31/20, the tank exchange volume
was +27% YoY" and one only needs to stroll down Market Street in Wilmington to see the vast
number of restaurants and cafes now reliant on outdoor seating with propane heaters to stay open
for business to understand the significance of this market trend.

4. These favorable propane demand trends provide a dramatic boost to FerrellGas’
financial prospects. Specifically, FerrellGas’ Adjusted EBITDA (a measure of cash flow generation),
has improved 30.4% from $230.0m in FY19 to Management’s FY21 Budget of “over $300m” and

more significantly, as the pre-bankruptcy cleansing materials indicated, the Company is “surpassin
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1 Fuller, Thomas. “A Pisgah Sight of Palestine and the Confines Thereof” (1650), Book II, Chapter XI.

2
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FY21 budget.”"" Unfortunately, FerrellGas’ Chairman/President/CEO, Mr. James Ferrell, along with
the conflicted, entrenched, and sycophantic Board of Directors, are attempting to utilize COVID-19
dislocations to consummate at lightning speed a prepackaged Chapter 11 case for the sole benefit
of their creditors and insiders. As proposed, FerrellGas’ common unit holders are the ONLY voting
class facing involuntary impairment, and yet to date have not been provided the representation, or
even the information, necessary to ensure their interests in the Company are adequately protected.

5. While serving as Chairman of the Board of Directors, Mr. James Farrell pursued a
disastrous debt-fueled diversification initiation into the crude oil midstream market, including the
$124.7M acquisition of Sable Environment, LLC in 2014" and the $837.5m acquisition of Bridger
Logistics, LLC in 2015.” These diversification efforts outside core propane markets were an epic
failure and were fire-sold for less than $92.0m less than three years later after additional CAPEX
spending.” Unfortunately, these de minimis sale proceeds were not even close to repaying the
almost $1bn in incremental debt burden on the Company’s balance sheet since this Board of
Directors oversight failure. The Bridger acquisition also resulted in multiple lawsuits alleging claims
against Ferrellgas and/or the Board of Directors for securities fraud, breach of fiduciary duty, and
fraudulent transfers, among others.”

6. Mr. James Ferrell responsibility for and role in this Chapter 11 proceeding is even
more infuriating considering the not one, but TWO pre-petition bonuses awarded on the eve of
filing totaling $3.5m_ cash (which included a “signing” bonus despite being with the Company in
various management and governance roles since 1965) and a guaranteed $900,000 annual salary
for the next two years recently granted by the Company’s Board of Directors.” This draining of
valuable cash liquidity on the eve of the Chapter 11 filing represented greater than 10% of the
Company’s common unit market capitalization at the time of announcement and is further indicative

of Unitholder's interests not being adequately represented.
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7. Ferrellgas Partners, L.P., and its publicly traded common units (“HoldCo”), have been
structured as a Master Limited Partnership (“MLP”) in a jumbled spaghetti of various general partner

and limited partner entities that only a restructuring advisor or tax attorney could fully comprehend:

 

Key Legal Entities in Pending Chapter 11 Process

 

   
       
  

LP Interest

 

 

 

 

10.00% FerreliGos, LP. ‘25 $703.4
Tetal OpCo Seared Senior Notes 9703.4 Secumed Santer Notes - HakdCo

Unsecured Senior Notes - Opto 8.625% FerrelKas Partners, LP. ‘20

6.50% FerreliGas, LP. ‘21 $500.0
5.75% FerreliGas, LP. ‘22 $475.8
6.75% FerreliGas, LP. ‘23 $500.0
10.00% Nove wo

 

 

 

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8. HoldCo is a publicly traded Delaware limited partnership formed in 1994 that has

 

two direct subsidiaries, Debtor Ferrellgas Partners Finance and non-Debtor Ferrellgas, L.P.
(“OpCo”). The publicly traded assets of HoldCo are managed by its general partner Ferrellgas
Inc. (“FGI”), which is wholly owned by Ferrell Companies, Inc. (“FCI"}. A portion of the Company is
owned by executive management, directors, and employees (28% of common units and 100% of
FCl) through the Company’s Employee Stock Ownership Trust (“ESOP”).

9. HoldCo’s common units are currently traded on the OTC Market under the symbol
“FGPRQ.” HoldCo withdrew its listing of the common units from the New York Stock Exchange

effective January 2020, after failing to maintain compliance with its continued listing standards. As

of August 31, 2020, HoldCo had 399 commen unitholders of record, and as per the First Day

 

 
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hearing, over 97,000 individual beneficial holders, primarily small and/or retail investors, whose
units are held in “street name” or held by record by banks, brokers and other institutions.

10. | The Company filed their chapter 11 cases on January 11, 2020 (the “Petition Date”).
As of the Petition Date, the Debtors’ funded debt consisted of $357.0m outstanding principal
amount of 8.625% senior notes due 2020 (the “2020 Notes”), which matured on June 15, 2020
and have not been repaid despite the August 15, 2020 expiration of a Forbearance Agreement
with selected noteholders. As of the Petition Date, non-Debtor OpCo has $1.475 billion of
unsecured funded debt comprised of: (i) $500 million outstanding principal amount of 6.50% senior
notes due 2021 (the “2021 Notes”), (ii) $475 million outstanding principal amount of 6.75% senior
notes due 2022 (the “2022 Notes”), and (iii) $500 million outstanding principal amount of 6.75%
senior notes due 2023 (the “2023 Notes”). OpCo has also issued on April 16, 2020 senior secured
first lien notes due 2025 (the “2025 Notes”) in the principal amount of $700 million (the “2025
Notes” and together with the 2021 Notes, 2022 Notes, and 2023 Notes, the “OpCo Notes”).

11. To date, the Unitholder and other holders of FerrellGas common units have not been
invited to participate in discussions regarding the HoldCo note maturity, and nor have they been
privy to the same information as FerrellGas’ insiders and creditors. Since announcing the Transaction
Support Agreement on December 11, 2020, the Unitholder has repeated contacted the Debtors
and their advisors in an attempt to gather more necessary information (including submitting a formal
partnership request pursuant to §17-305 of the Delaware Revised Limited Partnership Act), but has
been repeatedly ignored or blocked and hence was force to file this motion. It is critical all
unitholders of FerrellGas be given a fair opportunity to demonstrate what they are entitled to
recover on their investments before their interests are improperly and permanently impaired.
Without the representation and zealous advocacy of a fiduciary Official Equity Committee in the
pendency of the Chapter 11 cases, FerrellGas Unitholders will have no means to preserve and

realize the significant value that exists in the Debtor.
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JURISDICITION AND VENUE

12. This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157(b)(2)(A) and
(D). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the
relief sought herein are section 1102(a) of the Bankruptcy Code and Rule 9014 of the Federal

Rules of Bankruptcy Procedure.
FERRELLGAS' PROPOSED RESTR

13. Other than the Debtors’ non-insider common unitholders, all other constituents,
including the Debtors’ creditors and management, stand to greatly benefit from the proposed
restructuring. The Debtors are moving on an extremely fast track in these cases having already
solicited votes on its proposed prepackaged plan of reorganization (the “Plan”) from holders of
the 2020 Notes and holders of the Company's existing units utilizing a fatally-flawed Disclosure
Statement which fails to include any financial projections, details underlying the Moelis “valuation
analysis,” or indication of “market testing” of the proposed transaction terms.

14. The Company’s Plan is predicated on a Transaction Support Agreement (the “TSA”)
between the Debtors and approximately 74% of holders of the 2020 Notes. The TSA sets forth (i)
an in-court restructuring process to satisfy the obligations of HoldCo and Partners Finance under the
2020 Notes through the Plan, and (ii) an out-of-court refinancing of OpCo debt, including
replacement of OpCo’s unsecured 2021 Notes, 2022 Notes, and 2023 Notes, through a new
revolving credit facility, $753 million of new OpCo notes, and approximately $525 million of new
unregistered preferred equity. The holders of 2020 Notes will have an opportunity to participate
in the marketing process for the new preferred equity and to acquire up to 35% of the total amount
of such units — an opportunity no extended to current common unitholders. Under the terms of the

Plan, the 2020 Notes would be converted into Class B units in HoldCo entitled to receive distributions

at a 6:1 ratio to distributions to the Class A units, which would be issued to existing equity, until

 

 
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Class B unitholders receive the principal amount of the 2020 Notes (i.e., $357 million) in distributions.
Upon satisfaction of this $357 million distribution threshold or a 1.10x MOIC hurdle, the Class B
units would be converted into class A units at a highly dilutive conversion multiple in accordance to
the year of conversion (up to 25.00x) for potentially greater than 85% of the pro-forma equity in
addition to a full recovery of their principal.

15. The Company has not obtained any external DIP financing and is proposing to fund
the Chapter 11 cases through a prepetition intercompany loan from OpCo instead. According to
the Debtors, HoldCo obtained a binding commitment for a loan in the amount of $19.9 million from
OpCo, which loan has an off-market PiK interest rate of 20% (the “OpCo Loan”). The OpCo Loan
was made effective at the First Day hearing, will be treated as an intercompany claim under the
Plan, and strips additional value away from common unitholder to OpCo noteholders. The
Disclosure Statement states that “[i]n the event expenses exceed the maximum loan amount it is
anticipated that funds will be available from OpCo.”

16. Although there is no external DIP lender dictating the fast pace of these cases, the
TSA, nevertheless, contains aggressive timing milestones, which include confirmation of the Plan by
February 19, 2020 (or less than 45 days after the Petition Date) and emergence from bankruptcy
by April 4, 2020. At the Debtors’ First Day hearing, it was abundantly clear that Management has
attempted to make HoldCo's in-court restructuring and OpCo’s out-of-court refinancing inextricably
intertwined, despite FerrellGas’ common unitholders not being provided any financial projections
for OpCo or other financial information to ascertain the value of its proposed distribution under the
Plan.

17. Next, the Plan includes expansive third-party release and exculpation provisions in
favor of the Debtors, OpCo, the current ESOP trustee, consenting creditors, interest holders and the

Debtors’ officers and directors, including Mr. James Ferrell.
 

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18. Finally, the Disclosure Statement filed with the Plan provides no information
regarding other restructuring alternatives the Debtors have considered at arriving at this proposal
or any financial information, including HoldCo’s and OpCo’s financial projections on which the
Debtors’ own advisor, Moelis & Company, “Valuation Analysis” is based. Section 1125 of the
Bankruptcy Code provides that a disclosure statement must contain “adequate information”
describing a confirmable plan. 11 U.S.C. § 1125; see also, In re Quigley Co., 377 B.R. 110, 115
(Bankr. $.D.N.Y. 2007). To be approved, a disclosure statement must include sufficient information
to apprise stakeholders of the risks and financial consequences of the proposed plan. See In re
McLean Indus., 87 B.R. 830, 834 (Bankr. $.D.N.Y. 1987) (“substantial financial information with
respect to the ramifications of any proposed plan will have to be provided to, and digested by,
the creditors and other parties in interest in order to arrive at an informed decision concerning the
acceptance or rejection of a proposed plan”); In re Duratech Indus., 241 B.R. 291, 298 (Bankr.
E.D.N.Y.), aff'd, 241 B.R. 283 (E.D.N.Y. 1999)(the purpose of the disclosure statement is to give
creditors enough information so that they can make an informed choice of whether to approve or
reject the debtor's plan). As FerrellGas’ Disclosure Statement clearly failed to meet this important
threshold, any purported Consent Solicitation voting results are inadmissible until all common
unitholders have been provided the information necessary to make an informed decision concerning

the acceptance or rejection of the proposed Plan.
FERRELLGAS’ ACTIONS AND FILINGS TO DATE:

19. Based on FerrellGas’ filings and actions to date, there can be little doubt that the
Board and the Company’s Chairman/CEO/President are on the path of appeasing their
noteholders at the expense of equity holders in the hopes of confirming a plan that benefits only
themselves. As Judge Friendly remarked, “[t]he conduct of bankruptcy proceedings not only should

be right but must seem right.” In re Ira Haupt & Co., 361 F. 2d 164, 168 (2d Cir. 1966). The
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Debtors’ process to date and proposed restructuring seem to be far from that. By way of a few
examples:

20. On December 30, 2020, the Debtors disclosed that its Chairman and “interim”
President and CEO, Mr. Ferrell will assume the role of President and CEO of the general partner
FGI effective December 31, 2020 and will be paid an annual base salary of $900,000. In
addition, Mr. Ferrell received a “signing bonus” of $2.0m and a one-time bonus of $1.5m for his
efforts in overseeing the execution of the TSA, amounting to more than 10% of the Company’s
market capitalization and despite being with the Company in various executive and governance
roles since 1965. While the common unit holders are being effectively diluted into obscurity under
the proposed Plan, Mr. Farrell’s bonus payments dwarf any costs associated with the appointment
of an Official Equity Committee.

21. The Debtors are not insolvent and according to their own valuation expert, there is
likely substantial value available for equity holders. According to the Debtors, the Company has
been outperforming its projections and its adjusted EBITDA is expected to grow to over $300m by
FY2021™ versus the current outstanding debt annual interest expense of $199m. On December
15, 2020, the Debtors also reported adjusted EBITDA of $33.9m for the first quarter ended
October 31, 2020, a 35% increase from $25.1m reported from the prior-year period. On
December 21, 2020, the Debtors commenced solicitation of votes on its Plan with the accompanying
Disclosure Statement. The Disclosure Statement provides little to no information to inform
stakeholders’ vote, including a total lack of financial projections and other relevant financial and
background data. While the Disclosure Statement includes a valuation analysis (the “Moelis
Valuation Report”) from the Debtors’ financial advisors Moelis & Company, LLC (‘“Moelis”), given
the lack of underlying data, its reliability is impossible to test at this stage. Even so, on its face the

Moelis Valuation Report demonstrates a potential equity value available for distribution to common
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unitholders of over $130 million when using Moelis’ $488 million HoldCo enterprise valuation
calculation.

22. The Debtors’ equity-owning officers and directors are conflicted and appear to have
shielded themselves from any liability. Unlike a traditional NYSE listed C-Corp, the terms of the
Company's partnership agreements fully waive and disclaim any fiduciary duties by general
partner to common unitholders, leaving them with no ability to protect their interests and/or
challenge any potential breaches of fiduciary duty or other mismanagement. Even worse, recent
Company litigation with the former ESOP trustee (discussed below) shines light on how entrenched
the current Board is and its efforts to protect itself from any oversight by blocking any proposals
for appointment of special independent committees or refreshment of the Board of Directors
members after significant business judgement failures.

23. The foregoing highlights are only the tip of the iceberg as to why the immediate
appointment of an Official Equity Committee is required for these Debtors. With this factual

backdrop, the below sets out the relevant factors that justify an Equity Committee appointment.
ARGUMENT

24. As the facts set forth herein demonstrate, FerrellGas’ common unitholders are
entitled to, and the Unitholder respectfully requests, the immediate appointment of an Official
Equity Committee. Section 1102(a)(2) of the Bankruptcy Code provides that, upon the request of a
party-in-interest, the court may appoint an official committee of equity holders if “necessary” to
provide “adequate representation” of the interests of the equity holders. 11 U.S.C. § 1102(a)(2).
In providing common unitholders the ability to seek appointment of an equity committee, Congress’
legislative intent recognized that minority investors in Chapter 11 could be particularly vulnerable,

and an equity committee could be required to “counteract the natural tendency of a debtor in
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distress to pacify large creditors, with whom the debtor would expect to do business, at the expense
of small and scattered investors.” S. Rep. No. 95-989, at 10 (1978), attached hereto as Exhibit A.
25. The Court’s determination of the need for an Equity Committee is unfettered and de
novo, without regard to any determination on such matter by the U.S. Trustee. In re Park West Cirel
Realty, LLC, No. 10-12965 (AJG), 2010 WL 3219531, at *2 (Bankr. S.D.N.Y. Aug. 11, 2010) (a
court reviews de novo a decision of the U.S. Trustee not to appoint an additional committee); In re

Enron Corp., 279 B.R. 671, 684 (Bankr. $.D.N.Y¥. 2002) (same).

26. Courts in this District and elsewhere have developed several criteria in determining
whether to appoint a statutory equity committee: (i) whether the Debtors appear “hopelessly
insolvent” (which they are not); (ii) whether the interests of equity holders are adequately
represented absent the appointment of a statutory equity committee (which they are not); (iii) the
complexity of the case (infer alia, the Debtors are the second largest provider of propane in the
United States); (iv) whether the equity is widely held and actively traded (it is as there are
approximately 399 common unitholders of record, which does not include a substantially greater
number of holders in “street name” and the daily average trading volume over the past three
months has been over 300,000 shares); (v) the time of the request in relation to the procedural
posture of the case (this is clearly the optimal time to appoint an Equity Committee); and (vi) whether
the administrative costs of the statutory committee outweigh the benefit of adequate representation
(there are very substantial equity interests here and costs of having an Equity Committee are
dwarfed by the $3.5 million cash bonuses received by Mr. Ferrell alone in addition to over $16
million of projected professional fees for the Debtors and noteholder professionals ). See, e.g., In
re Spansion, Inc., 421 B.R. 151, 156 (Bankr. D. Del. 2009); Exide Tech. v. State of Wisconsin Inv.

Bd., 2002 WL 32332000, at *1-2 (D. Del. Dec, 23, 2002); In re Kalvar Microfilm, Inc., 195 B.R.

599, 600 (Bankr. D. Del. 1996); In re Eastman Kodak Co., No. 12-10101, 2012 WL 250107, at

 

 
 

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*1-3 (Bankr. S.D.N.Y. June 28, 2012); In re Pilgrim’s Pride Corp., 407 B.R. 211, 216—22 (Bankr.
N.D. Tex. 2009); In re Williams Comme’ns Grp., Inc., 281 B.R. 216, 219-20 (Bankr. $.D.N.Y. 2002).

27. Nosingle factor is dispositive, and the weight attributed to each factor is determined
by the facts of each case. In re Kalvar Microfilm, Inc., 195 B.R. 599, 600-01. Furthermore, even if
the Debtors were clearly insolvent, which is not the case here, this would not bar the appointment
of an Equity Committee. See 7 Collier on Bankruptcy P 1102.03 (16th 2020) (“solvency of the
debtor should not be the only factor, or even the principal factor, in deciding whether to appoint a
committee of equity security holders. In many chapter 11 cases, only the passage of time and the
debtor’s attempt to restructure its business will determine whether a recovery will be available for
equity.”). As discussed below, each of the factors weighs heavily in favor of the appointment of an
Equity Committee.
i) The Debtor are Far From “Hopelessly Insolvent: According to at Least 5 Metri ommo
Unitholders are Plausibly in the Money

28. The applicable legal standard with respect to the solvency prong for an
appointment of an Equity Committee is not whether the Debtors are insolvent but whether they
“appear[] to be hopelessly insolvent.” In re Williams Comme’ns Grp., Inc., 281 B.R. at 220-21; In
re Wang Labs, Inc., 149 B.R. 1, 3 (Bankr. D. Mass. 1992) (bankruptcy court appointed official equity
committee even though the company was operating “at a loss,” because the debtor was “not
hopelessly insolvent”). Here, the Debtors are far from being “hopelessly insolvent.” This fact is a
significant factor supporting the immediate appointment of an Equity Committee. Value, as
evidenced by the Company’s SEC and case filings, is sufficient to support a finding of solvency in
the context of committee appointment. See In re Pilgrim’s Pride Corp., 407 B.R. 211, 217 (Bankr.
N.D. Tex. 2009).

29. There are at least five publicly observable, data-based metrics which demonstrate

common unitholders are plausibly in the money, including, but not limited to:
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® Debtors’ Moelis valuation report

e Recent improvements in operational and financial performance
e Recent business results are exceeding management projections
e Propane distribution public company trading comparables

e Precedent propane distribution company transaction comparables

30. ‘First, while the Disclosure Statement failed to include any financial projections or
even committed financings, the Debtors did file a flimsy Moelis Valuation Report, which shows a
total enterprise value for the Debtors between $2 million and $488 million, with a midpoint of
$245 million, as of an assumed effective date of January 31.*' Moelis states that it used a
combination of publicly traded comps, precedent transactions and discounted cash flow analysis.
However, no underlying supporting detail, including peer companies, peer transactions, cash flow
discount rate, terminal value perpetuity growth rate assumptions, or HoldCo's and OpCo's financial
projections have been provided in the Disclosure Statement. Even so, the Moelis Valuation Report
demonstrates that over $130 million could potentially be available for distribution to equity holders
using the $488 million HoldCo enterprise valuation calculation.

31. Second, on December 15, 2020, the Debtors reported that their adjusted EBITDA
has increased by 35% for the first quarter ended October 31, 2020 as compared to the prior
year period.*! This is not surprising given that the Debtors have significantly benefited from the
COVID-19 related nesting at home, which spurred significant volumetric demand for the Company's
propane for heating, cooking, and outdoor heating equipment from both homeowner and
commercial segments. This favorable operating environment seems to have continued into 2021 as

United States propane stocks are currently at 5-year lows, with less than 32 days of supply

available versus great than 56 days of supply at this time last year."

 

 
 

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32. Third, the Debtors’ own Cleansing Materials filed in connection with their entry into

the TSA show that the Debtors are far from “hopelessly insolvent.” The Debtors disclosed that:

e budgeted adjusted EBITDA [is] expected to grow to over $300 million by FY2021
(versus current annual interest expense of approximately $199 million), which would

represent an 8.4% CAGR since Jim Ferrell’s return as CEO in 2017;

e successful management of operating expenses has increased Adjusted EBITDA
margin from 11.4% in FY 2017 to 17.8% in FY 2020; and
e the Company is already surpassing FY 2021 budget.”*”

33. Fourth, as per below, as of the trading close on 01/28/2021, North American
propane distribution public company trading comparables indicate FerrellGas common unitholders
are significantly in the money. Utilizing the consensus I/B/E/S estimates mean FY21 FV/EBITDA
multiple of 8.3x, FerrellGas’ most recent 10-Q for net debt [$2,207million] and units outstanding

[98.1], and FerrellGas’ FY21 budgeted Adjusted EBITDA of $300 million, this implies FerrellGas’

common units are worth approximately $2.84/unit, or an implied equity value of $279 million.”

 

 

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North American Propane Distributors
UGI Corporation UGI US Equity $36.42 $7,629 $13,662 23.0% 21x 1.9x 9.0x 8.6x
Superior Energy SPB CN EQUITY $12.35 $2,174 $4,061 20.0% 1.6x 19x 81x 8.2x
Suburban Propane Partners, L.P. SPH US Equity $15.06 $941 $2,148 22.9% 1.9x 1.9x 8.5x 8.1x
Max $13,662 23.0% 21x 19% 9.0x 8.6x
Mean $6,624 22.0% 19x Lax asx[_ 83x]
Min $2,148 20.0% 1.6x Lx B.1x 8.x
[Ferrellgas Partners, LP. FGPR US Equity $0.5250 $52 $2,258 18.2% 15% N/A 8.2x 7.5x|

 

34. Finally, as per below, precedent North American propane distribution company
transaction comparables for deals great than $200 million indicate FerrellGas common unitholders
are significantly in the money. Utilizing the mean Next Twelve Months (NTM) FV/EBITDA transaction

multiple of 9.0x, FerrellGas’ most recent 10-Q for net debt [$2,207million] and units outstanding
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[98.1], and FerrellGas’ FY21 budgeted Adjusted EBITDA of $300 million, this implies FerrellGas’

common units are worth approximately $5.10/unit, or an implied equity value of $501 million™

 

 

 

 

Perch CTR RTT) are SRA)

Raa ore VACA RTIEEC MELT IRE Oy.

UGI Corporation AmeriGas Partners, LP. Retail Propane Operations 04/02/19 $2,440 10,2x 9.7x
Superior Plus Corporation NGL Energy Partners LP Retail Propane Operations 05/30/18 $900 10.5x 10.7x
DCC LPG NGL Energy Partners LP Retail West 11/07/17 $200 8.0x 7.1%
Superior Plus Corporation Gibson Energy Inc. Canwest Propane 02/13/17 $412 10.8 12.3x
Suburban Propane Partners, LP. Inergy, LP. Retail Propane Assets 04/26/12 $1,800 9.1x NA
AmeriGas Partners, LP. Energy Transfer Partners, LP. Heritage Propane 10/17/11 $2,890 11.4x 8.9x
Inergy Propane, LLC Sterling Partners GP LLC Liberty Propane 01/04/10 $223 NA 6.2x
Inergy, LP. Star Gas Partners, LP. Star Gas Propane 12/17/04 S475 9.6x 9.5x
Ferrellgas Partners, LP. Blue Rhino Corporation Retail Tank Exchange 02/09/04 $420 10.0x 7.8x
Max $2,890 11.4 12.3x
Mean $1,084 10.0x[__9.0x]

Min $200 8.0x 6.2x

[Ferrellgas Partners, LP. - Current Market Valuation $2,258 8.2x 7.5x]

ii) T m i R ft

35. The law does not envision that a chapter 11 debtor or an official creditors’
committee will adequately represent the interests of shareholders in the bankruptcy case. In re
Mirant Corp., 334 B.R. 800 at 815 (noting that it is unlikely that creditors will be disposed to value
Debtors so liberally that equity may be sure to receive its due); In re Coram Healthcare Corp., 315
B.R. 321, 339 (Bankr. D. Del. 2004) (“we recognize each side’s incentives to either overvalue or
undervalue the Debtors”). Chapter 11 debtors are not expected to protect shareholders because
conflicting concerns often arise making it difficult for such directors and management (even assuming
the best of intentions, which does not seem warranted here) to follow the best course for non-insider
public shareholders. See In re Pilgrim's Pride Corp., 407 B.R. at 218 (“While it is unquestionably
true that Debtors’ officers and directors have a duty to maximize Debtors’ estates to the benefit of
shareholders as well as creditors . . . the reorganization process is not so simple that ensures
shareholders are adequately represented by equity-owing management.”). The facts here show
that Company's officers and directors cannot be relied upon in any fashion to “adequately

represent” the interests of equity holders.
 

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36. There is no dispute that equity-owning officers and directors cannot adequately
represent shareholders due to their conflicting fiduciary duties to creditors in a bankruptcy and
other possible conflicts of interests. Once a bankruptcy petition has been filed, the Debtor’s
directors and officers have a broadened fiduciary duty to the estates as a whole, not only the
Unitholders. Commodity Futures Trading Comm'n v. Weintraub, 471 U.S. 343, 355 (1985). This often
creates conflicts in interest to the detriment of equity holders. See Pilgrim's Pride, 407 B.R. at 218-
19 (“The dynamics of Chapter 11 are such that Debtors-and their management-are likely to be
constrained to accept and advocate to the court a conservative value for their business in order to
obtain creditor assent to a reorganization plan”); Addendum at 2. Moreover, in a similar energy
MLP Chapter 11 case, the United States Securities and Exchange Commission opinioned In re
Breitburn Energy Partners LP, No. 16-11390, (S.D.N.Y. Oct. 7, 2016), ECF No. 650, attached hereto
as Exhibit B (‘As for management, it is the [SEC] staff's view that equity-owning officers and
directors generally cannot adequately represent shareholders due to their conflicting fiduciary
duties to creditors in a bankruptcy and other possible conflicts of interest (i.e. management
incentive and retention plans).”). More significantly, unlike most publicly traded companies, it
appears FerrellGas’ current Chief Operating Officer, Chief Financial Officer, Chief Sales Officer,
and General Counsel all fail to currently own a single common unit of the Debtors.*¥!

37. Because FerrellGas is structured as an MLP with separate and divergent GP/LP
interests, it is important to review Founder/Chairman/CEO Mr. James Ferrell’s economic motivations
and how they are in direct conflict with common unitholders under the proposed Plan. First, although
Mr. James Ferrell is a holder of ~4.76m common units of FerrellGas (4.9% of outstanding), he has
been a net seller of common units since going public in 1994 and his stake has a current market
value of only $2.50 million.“ Thus, Mr. Ferrell's $3.5 million in pre-petition cash bonuses were
40% GREATER than his overlapping ownership interest with common unitholders. Most telling, the

proposed Pian does not require any material concessions or majority governance changes for the
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partnership agreements or structure with Ferrell Companies, Inc. While Mr. Ferrell’s GP interests
are effectively unimpaired, the massive and unequitable dilution facing common unitholders further
illuminates the divergent interests the Bankruptcy Court is tasked with overseeing. In summary, it is
inconceivable Mr. Ferrell is appropriately motivated to look out for the interest of FerrellGas
common unitholders going forward in the Chapter 11.

38. Next, under FerrellGas’ current partnership agreements, the general partner
upstreams to Ferrell Companies, Inc. (a Kansas company), an annual reimbursement for “all direct
and INDIRECT expenses” made on behalf of Ferrellgas Partners, L.P. While the details and
suitability of these payments are thinly disclosed in the Company's SEC filings, it is highly concerning
this massive cash vacuum has risen to $290.3 million for fiscal 2020, up from $245.0 million in fiscal
2015, reaching 19% of total revenue versus the historic 10-12%.** It is also interesting to note this
dramatic increase in cash upstreaming accelerated after the termination in FY17 of the quarterly
cash distributions to paid to common unitholders. As there will be no UCC in this Chapter 11, only
an Official Equity Committee can independently and vigorously investigate the suitability of this
significant expense reimbursement agreement to ensure this recent >$45 million increase in annual
expenses is in the best interest of the Debtors going forward and that no pre-petition fraudulent

conveyance or other financial shenanigans have occurred.

FerrcliGas: “Reimbursable Cost Structure Analysis. $m

 

$300 $290.3 25%

$290

$280 20%
$270
$260
$250
$240
$230
$220
$210
$200

   

$260.7 $260.0

  

15%
$249.6

   
 
 
 

  

10%

 

5%

"Reimbursable" Costs Paid to GP
GP Payments as % of Total Revene

 

| $224.8 I

0%

FY10, FY11) =FY12 =#FY13— «=FY14~—=sOFY15 FY16 =FY17— = FY18 = FY19—sFY20

 

 
 

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39. Even more shocking, FerrellGas’ relevant partnership agreements expressly waived
and eliminated any fiduciary duties by the general partner to any unitholder.** Generally (unless
a partnership agreement otherwise provides, as is the case here), Delaware law requires a general
partner of a Delaware limited partnership to adhere to fiduciary duty standards under which it
owes its limited partners the highest duties of good faith, fairness and loyalty and which generally
prohibit the general partner from taking any action or engaging in any transaction as to which it
has a conflict of interest. The partnership agreements of both HoldCo and OpCo unconditionally
eliminate these default fiduciary duty standards and require the general partner to adhere to the
contractual good faith duty of care set forth in those agreements. Specifically, the general partner
need only take actions that it, as general partner, reasonably believes to be in, or not inconsistent
with, the best interest of HoldCo and OpCo. Thus, neither HoldCo nor OpCo owes traditional
fiduciary duties to any equity holder. According to the Debtors’ own fiscal year 2020 Form 10-K,
“[t]he latitude given in the partnership agreements to [the] general partner in resolving conflicts of
interest may significantly limit the ability of a unitholder to challenge what might, in the absence of
the partnership agreement provisions eliminating default fiduciary duties be a breach of fiduciary
duty.”**!

AQ. Unfortunately, many individual retail investors [greater than 70% of the LP
unitholders in FerrellGas] and the retail stockbrokers that service their accounts are under the
vestigial impression that, like most NYSE listed companies [such as FerrellGas originally], the
Company’s management and Board of Directors has a fiduciary duty to act in the interest of all
shareholders. Because of this mistaken assumption regarding FerrellGas’ governance and the lack
of adequate financial information, including the projections underlying the Moelis Valuation Analysis
in the Disclosure Statement, it is not surprising default votes in favor of the Debtors’ recommendation
for the solicitation materials were received. In addition, because the MLP tax structure precludes

many larger institutional investors from participating in FerrellGas, there was not an independent
 

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review and recommendation based o

n the purported “Disclosure Statement” by Institutional

Shareholder Services, Inc. (ISS), Glass, Lewis & Co., LLC (Glass Lewis), or even a cornerstone active

investor such as Franklin Templeton, Fidejity, or T. Rowe Price.

41. While serving as Chairm
Mr. Ferrell has been on a value-destruc
Logistics LLC (“Bridger”). The Company
Board independence. {n 2015, the q
midstream energy transportation compd

a cash and stock deal." Bridger never

the Company ended up fire-selling most

hn and then also as President and CEO of the Company,
tive path since overseeing the 2015 acquisition of Bridger
has vigorously resisted any appeal for transparency and
ompany borrowed $500 million to acquire Bridger, a
ny, for approximately $820 million total consideration in
generated enough cash flow to service this new debt and

bof it two years later for $92 million, locking in a huge loss.

Ferrellgas’s unit price, which reached a high of $28 per unit in 2014, has been plunging since this

disastrous attempt at diversification. Fd
remove the independent ESOP trustee (

2019, alleging the far-fetched claim th

st-forward a few years, and Mr. James Ferrell sought to
GreatBanc Trust Company) by filing a lawsuit in October

bt the independent ESOP trustee was responsible for the

operational and financial failure of the| Bridger transaction." However, according to the much

more credible ESOP trustee response te
the ESOP trustee’s request to appoint q
recapitalization proposal from a reput

proposals that would have revived the

the lawsuit, Mr. James Farrell’s actions were spurred by
special committee in the summer of 2019 to consider a
bble global asset management firm and other strategic

Ferrellgas unit price before any HoldCo or OpCo debt

defaults.xx” According to the ESOP trustee, the Board refused to form a special committee or even

consider the proposed recapitalization, pltimately removing the ESOP trustee and replacing it with

a new “trustee” personally selected by /j
a solo practitioner with no other publicly

residence in coastal Florida.

Ar. James Ferrell. This new “trustee,” Mr. James Urbach, is

traded company ESOP clients who works out of a private

 
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New Ferrellgas ESOP Trustee: ESOP Fiduciaries, Inc. (Mr. James Urbach}

 

 

Mr. James Ferrell’s vexatious litigation with the now former ESOP trustee, GreatBanc Trust
Company, for attempting to serve its fiduciary role to the benefit of all employee owners, is still
ongoing, after already being dismissed once and failing at the appellate level, at great continuing
expense and distraction to the Debtors.

42. Next, given the complicated master limited partnership structure of the Debtors, it
remains unclear if the unitholders will liable for taxable income from the cancellation of its
indebtedness (“CODI”) by virtue of the proposed restructuring, while at the same time receiving no
cash distributions to pay this potential tax liability. The Disclosure Statement plainly says that the
“Debtors may incur COD income as a result of the implementation of the Plan [and that] HoldCo
and/or [Partners Finance] may incur COD income as a result of satisfying Allowed Class 4 Claims
[2020 Notes Claims] by issuing New Class B Units to the Holders of those Claims.”*” These
significant COD! tax issues facing all unitholders will require further due diligence and analysis with
the assistance of qualified and independent tax professionals.

43. Thus, under the circumstances far less troubling than those that exist here, in Oneida,

Judge Gropper determined that it would be “unrealistic” to rely on “the usual presumption that the

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Board will pay due... regard to the interests of shareholders.” In re Oneida Ltd., No. 06-10489
(ALG), 2006 WL 1288576 at *2 (Bankr. $.D.N.Y. May 4, 2006). There, the debtor’s lenders, as
part of out-of-court restructuring, gained effective control of the debtor’s board through exercising
the right to appoint six of the nine directors. Judge Gropper found that the absence of the “usual
checks and balances” present in most bankruptcy cases and “due regard for appearances”

warranted the appointment of an official equity committee. Id. at *3.
iii) The Debtor's Cases are Undeniably Large and Complex

44. There can be no serious challenge to the fact that these cases are large and complex.
According to the Debtors’ own statements, the Debtors, together with OpCo and its subsidiaries, are
“the second largest marketer[s] of propane in the United States as measured by the volume of retail
sales in fiscal year 2020 and a leading national provider of propane by portable tank
exchange.”**" FerrellGas has over 4,000 fulltime employees and maintains over 59,500 tank
locations and 906 service units around all 50 states of the United States." For the fiscal year
ended July 31, 2020, the Debtors’ total operating revenues were approximately $1.49 billion2%“"
The Debtors’ consolidated assets and current liabilities as of October 31, 2020 were approximately
$1.652 billion and $1.118 billion, respectively.** The complexity of these cases clearly militates
in favor of an Equity Committee appointment. See In re Beker Indus. Corp., 55 B.R. 945, 949
(Bankr. $.D.N.Y. 1985) (“[T]he complex nature of this large case requires representation of ...
shareholders ... [T]his is not a case where the ... shareholders will be asked merely to vote ona
plan. This is a case requiring active participation by ... shareholders to protect their interests.”).

45. In the case of this size and complexity, it is unlikely that any single unitholder or
group of unitholders would have sufficient expertise and resources to adequately represent the

interests of all unitholders. It would be unfair and impractical to demand that this signle pro se

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unitholder continue to individually bear all the time and costs of representation to address the

multitude of relevant issues that will arise in these chapter 11 cases.
iv) FerrellGa mmon Units are Widely Held and Actively Traded

46. HoldCo is a publicly traded company with approximately 97.2 million common
units outstanding as of October 31, 2020.%* As of August 31, 2020, FerrellGas had
approximately 399 common unitholders of record and as per the Debtors’ First Day hearing, over
97,000 individual beneficial holders, primarily small and/or retail investors, whose units are held
in “street name” or held by record by banks, brokers and other institutions.

47. . FerrellGas common units are listed and traded on the OTC Pink Market under the
symbol “FGPRQ” and were previously listed on the New York State Exchange under the symbol
FGP. Furthermore, over 70% of units are widely held by smaller or retail holders, who may not be
easily organized to voice their interests in these chapter 11 cases, let alone become educated as
to the means to obtain a recovery in an expediated case unfolding during the pandemic. This
factor weighs in favor of appointing an Equity Committee.

48. The Unitholder, in their personal capacity as a private investor, is currently the
beneficial owner of approximately 250,500 common units of FerrellGas.? In light of their position
as a beneficial owner of Ferrellgas common unitholders, the Unitholder is ready and willing to serve
on the Equity Committee should one be appointed. In addition, the Unitholder is currently aware of
2-3 other unitholders of FerrellGas who have expressed an interest in protecting common unitholder
rights and serving on the Equity Committee should one be promptly appointed.

49. I\n order to be adequately represented in this Chapter 11 case, an Official Equity
Committee must be appointed due to the sheer number of unitholders and difficulties in coordinating,

including regarding the Consent Solicitation, outside of official FerrellGas management channels to

 

2 Additional documentary evidence certifying the Unitholder's beneficial ownership of Debtors common units can be expeditiously produced to the
Court or the U.S. Trustee upon their request.

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date. The Debtor has commenced discussions with stakeholder constituencies regarding critical
issues, including valuation and the recapitalized balance sheet at both OpCo and HoldCo. Thus far,
the numerous and widely dispersed common unitholders have not participated in those discussions,
nor have they been privy to the same information as the Company’s creditors. Without
representation through an Official Equity Committee, Unitholders will continue to be denied critical

information and the opportunity to advocate to preserve the value of the Debtor’s equity.
v) An Equity Commi in ill Not Unduly Delay Th

50. The Debtors just filed their chapter 11 cases on January 11, 2020 and have not yet
held a second day hearing. This request is clearly at the very beginning of the cases and thus,
timely. See In re Pilgrim’s Pride Corp., 407 B.R. at 219-20 (noting that because the debtors were
finalizing their business plan, “establishment of an advocate for shareholders is urgent” and
“[d]enying equity owners the means to analyze and critique Debtors’ projections in their business
plan is likely to hinder if not hopelessly ripple any later effort to show that Debtors’ value is sufficient
to justify equity participation”); In re Energy XXI, Lid., No. 16-31928 (Bankr. S.D. Tex. June 15,
2016), Hearing Transcript, at p. 147 [Dkt No. 532] (an equity committee must be “involved early
if [the court is] going to let them get involved at all”).

51. Nowis the time to appoint an Equity Committee, so that any such committee will have
the benefit of time and resources at the early stages of these cases and not have to engage in a

deep learning curve later on to make any meaningful contribution.

nefits of an E

 

52. Given the overall size and complexity of these chapter 11 cases, the incremental
cost of an Equity Committee — compared to what is likely to be very significant estate funded costs
for other professionals ~ does not outweigh the need for adequate representation for equity

holders, especially in light of the equity holders’ potential personal tax liability exposure due to

23

 

 
 

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CODI. The costs of an Equity Committee are dwarfed alone by $3.5 million in cash bonuses already
received by the Debtors’ Chairman and CEO Mr. James Ferrell. In addition, the Debtors’ Disclosure
Statement estimates $8 million for the Debtors’ professional fees for only a three-month period
from January to April 4 and over $8.2 million for consenting noteholder professional fees during
that same period.

53. The case law is clear that the administrative costs of an official equity committee
alone must not bar statutory committee appointment. See In Re McClean Indus., 70 B.R. 852, 860
(Bankr. $.D.N.Y. 1987) (“Cost alone cannot, and should not, deprive . . . security holders of
representation.”).

54. Furthermore, the Bankruptcy Code contains adequate means for controlling costs. At
all times, the costs of the Equity Committee professionals would be subject to review by parties in
interest. And the Court has complete contro! over the expenses of an Equity Committee. In any
event, because common unit holders here are in the money, the fee burden ultimately will be borne
by the same unitholders.

55. For all the foregoing reasons, the Unitholder believes it would be unjust to permit
the Debtors to prosecute a plan of reorganization without the input of their Unitholders, and
accordingly seeks the immediate appointment of an Official Equity Committee to protect the

interests of all equity holders.

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Conclusion
The Unitholder respectfully requests that the Court direct the U.S. Trustee to immediately

appoint an Official Equity Committee of common unitholders in this case and grant such other

relief as is just.

4 Cuia 6 sence

Kevin Barnes, pro se
4030 S. Whitehorse Road, #408
Malvern, PA 19432

 

kevinrbarnes@gmail.com
1.646.265.9535 - direct
January 29, 2021

 
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Appendix B — Proposed Order

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: | Chapter 11
|

Ferrellgas Partners, L.P., et al., | Case No. 21-10021-MFW
|

Debtors. |

 

ORDER DIRECTING THE UNITED STATES TRUSTEE TO APPOINT
AN OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS

Upon the motion (the “Motion”) of the Unitholder for entry of an order directing the Office
of the United States Trustee for the District of Delaware (the “U.S. Trustee”) to appoint an official
committee of equity security holders; and it appearing that this Court has jurisdiction over the
matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334(b); and it appearing that venue
of this chapter 11 case and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and
1409; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and
this Court having determined that the relief requested in the Motion is appropriate pursuant to 11
U.S.C. §1102(a)(2); and it appearing that proper and adequate notice of the Motion has been given
and that no other or further notice is necessary; and after due deliberation thereon, good and
sufficient cause appearing therefore;

IT IS HEREBY ORDER THAT:

1. The Motion is GRANTED as set forth herein.
2. The U.S. Trustee is directed to immediately appoint an official committee of equity

security holders in this case.

 

3 Terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion

1

 

 
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3. This Court shall retain jurisdiction with respect to all matters arising from or relating to

the interpretation and implementation of this Order.

Dated: January , 2021

Wilmington, Delaware

 

THE HONORABLE MARY F. WALRATH
UNITED STATES BANKRUPTCY JUDGE

 
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EXHIBIT A

 
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BANKRUPTCY REFORM ACT OF 1978
P.L. 96-S88

BANERUPICY REFORM ACT OF 1978
, 85-598, ace page $2 Sial, 2559

House Report (Ju Committee) No. 95-595, Sept. 8, 1977
{To pany H.R. 8200)
Senate Report (Ju Committee) No. 95-989, Inly 14, 1978
/ (To accompany H.RS. 2266)

Cong. Record Vo). 124 (1978)

DATES OF CONSIDERATION AND PASSAGE
House February 1, September 28, October 6, 1978
. Senate September 7, 22, October 5, 1978

The House bill was passed in tieu of the Senate bili after amending
ite language to contain much of the text of the Senate bill. The
Senate Report (thia page) amd the Honse Report (p. 5963) are
set out. - *.

SENATE REPORT NO. 95-989

{page 1) .

The Committee on the Jadiciary, to which was referred the bill,
S. 2266, to establish a uniform law on the subject of bankruptcies, hav-
ing considered the same, reports favorably thereon and recommends
that the bill in the nature of # substitute do pass. The committee
amendment strikes ont all after the enacting clause and inserts a new
text, which appears in italic type in the reported bill.

Pourross or tHe Br

The purpose of the bill is to modernize the bankruptcy law by codify-
ing a ew title 11 that will embody the gubetantive la of bankruptcy
and to make extensive amendments to title 28, Judiciary and Judici
Procedure, that will encompass the structure of the revised bank-
raptey courts. -

Purpose oF THE AMENDMENT
The, amendment in the nature of a substitute reffects, testimony re-
ceived by the committee and the changes that resulted. The purpose of
the revised bil? remains to modernize the bankruptcy law.

Terecoverion
In 1970, C ereated the Commission on the Bankruptcy Laws
of the United to'study and récommend ch in bankru

ommend changes

laws The Commission beoams operstional in June 1971, and its
fina’ rt with Congress an July 30, 1978. Its report was in two

Part I’ contained the Commission's findings and recommendations.

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“LEGISLATIVE HISTORY
PL. 95-598

(page 10)
serve the same emential purpose. The differentiating standard is not
whether the debtor is large or small. It is rather whether the debtor is
a public company, as defined.

, in ites fundamental aspects, involves the thankless
task of ining who should share the losses incurred by an unsue-
cessful businces and how the values of the estate be appor-

tioned emong creditors and stockholders. In a large public company,

whose interests are diverse and complex, the most vulnereble today are

t ie Jnvestons who own. subordinated debt or exit) ee eetiaey

chapter XK, is counteract the natural tendency

of a debtor in distress to large creditors, with whom the debtor

would expect to do business, sf the expense of small sad sosttered pub-
ic investors.

Statistical information provided by the SEC (Hearings before Sub-
committee on Improvements in Judicial Machinery of the Committes
on the Judiciary, U.S. Senate, on S. 2266 and H.R. 8300, 95th Cong.,
1st Seesion. hereinafter (Senate hearings, pp. 625, 682) }, indicates that
the overwhelming majority of reorgenization cases would: not in-
volve jsublic companies a8 defined in section 1101(3) of the bill. Re-
orgenteation of such companies would ba governed by procedures
and standards that aré drawn end adapted from what is now chapter
XI. But the few exceptions—the public companies—ere of vast im-
portance. As the SEC noted {Senate hearings, supra) public compe-
Bies, as defined in section 1101(3}, represented only between one-half
and one percent of the business reorganization cases in chapters X
and XI in the ‘years 1975-77. But theses cases, though few in number.
Tepresented over 90 percent of the total assets liabilities of al
casea with « substantial public investor interest. It is only for such
public jee that the bill reanacts tha few basic safeguards of
In all other respects, the administration of debior eatates
for publie companice will be governed by the provisiona im chapters 8,
Sand 11 thet are intended for all cases, public and non-publs com-
The Committee believes that it should be emphasized that investor
protection is most critical when the company in which the public in-
ed Talay repeat peters

ptey laws. ; ni on, a$ provided in

the dill, ia literally the last clear chance to-conserva for them values
that corporate financial stress or insolvency have placed in jeopardy.
Az public investors are likely to be junior or subordinated creditors or
stockholders, it is essential for them to have legislstive assurance that
their interests will be protected. Such assurance should not be left
toa ated by a debtor in distress and senior or institutionai
creditors who will have their own best. interest to Jook after, Com-
Menting on tha need and importance of a disinterested trustes in pub-
lic canea, Harold J. rye Jr.,@ distinguished Saree Federal judge
experianced in bankrw reorganization, ‘said (Senate Hearings,
supra, p. 900} that onky the trustee “can be expected to look out for
the pt and. equity bolda Creditors and their lawvers usually do not
btors in pomession are inclined to think first of satisfying

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EXHIBIT B

 
 

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16-11390-smb Doc650 Filed 10/07/16, Entered 10/07/16 16:44:48 Main Document
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U.S. SECURITIES AND EXCHANGE COMMISSION
NEW YORK REGIONAL OFFICE

 

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October 7, 2016

By Email and U.S, Mail

Susan D. Gollen, Esq.

Office of the United States Trustee
201 Varick Street, Suite 1006
New York, NY 10014

Susan Golden@usdoj.gov
RE: Breitbum Energy Partners LP, et al; Bankr Case No. 16-11390-SMB (SDNY)

Dear Ms. Golden:

Pursuant to Section 1109{a) of the Bankruptcy Code, the Secunties and Exchange Commission
(‘SEC”) may raise, and may appear and be heard on, any sue ma Chapter 11 case.
The SEC staff has been mondoring the above-referenced case, and believes that the appointment ofan
equity committee fo represent public sharehokers 8 appropriate here. Consistent with case hw, the
staff considers the lowing factors in assessing whether an equity committee should be appomied: ()
whether the debtor appears to be hopelessly insolvent; (#) whether the debtor’s securities are widely
held: (a) the complexity of the case; (1v) the likelhood that shareholders will receive a distribution: (v)
whether the cost to the estate of the comnuiiee significantly outweighs the need for adequate
representation, and (vi) whether sharehoklers can be adequately represented by other participants m the

case.

held because Bretbum Energy Partners, LP, et al (‘Bredtbum’” or “Debtors”) is undisputedly a Bree
public company with a complex business and debt structure. The Debtors’ consolidated assets and
fabilties as of March 31, 2016 were approximately $4.71 billion and $3.41 billion, respectively.' Prior

1 See Dechration of James G. Jackson Pursuant to Local Bankruptcy Rule 1007-2 and In Support of The Debtors*
Chapter 11 Petitions and Fast Day Relief ff 8, 18 [ECF No. 13].

 

 
 

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fo the petition date, Breifum had approximately 213.7 million common units and 57.4 million preferred
units outstanding, which appear to be widely held among hundreds of beneficial holders.”

With respect to the hopeless insolvency prong,’ the Debtors’ financiak indicate that the Debtors
do not appear to be hopelessly insolent here. The balance sheet as of the petifion date shows more
than $1.3 biltion in stockholder equity. Even post-petition, in the Debtors’ most recently fled Monthly
Operating Report for the period ending August 31, 2016, the Debtors’ balance sheet reflects an
estimated $985 million in stated equity.’ At this time, Breitbum has not filed a plan of reorganization,
but these numbers suggest that it is likely there will be some distribution available for shareholders. Ina
case that will likely involve a heavily negotiated plan of reorgantzation, the extent of amy shareholder
distribution coukd be determined by whether shareholders have adequate representation dunng the phn
megotiation process.

Finally, the cost to the estate of the committee will not significantly outweigh the need fbr
adequate representation and shareholders cannot be adequately represented by other participants m this
case. The cost dbr equity commiitiee professionak should be small relative to the size of the case. By
comparson, the Debtors and the creditors have retained muttiple pro&ssionals under §327 of the Code
incloding fead counsel, an investment banker, a claims and noticing agent, a financial advisor, a conflicts
counsel, a special counsel, a special tigation counsel and an auditor and tax advisor. With other parties
recening this level of representation ina complex case, it would be unfair to say that st would be too
costly for the estate to pay for any representation of shareholders.

The staff does not believe that shareholder interests will be adequately represented by other
participants in the case. As noted above, the stock 5 widely held and, while certam shareholders are
seeking appointment of an equity committee, # would be wifi to demand that these shareholders
continue to bear the costs ofrepresentation to address all the relevant issues that arise dunng the course
of these proceedings. In a case of this size and complexty, it is unlikely that any smgie sharehokder or
group of shareholders would have sufficient resources to adequately represent the interests ofall As
for management, t is the staff's view that equity-owning officers and directors generally cannot
adequately represent shareholders due to thei: conflicting fiduciary duties to credifors in a bankruptcy
and other possibk: conflicts of interest (Le. management incentive and retention plans). Here, # appears
that management may not be in a position to adequately represent sharehokders for the additional reason
that shareholders are iikely to face the tax consequences of cancellation of debt mcome.

2 See Form 10Q, dated May 6, 2016

3 See Judge Bemstem’s Memorandum Decision and Order Denymg Appomtment of an Official Conmnttee of Equity
Secunty Holders m Sunedison, Inc. et al, Chapter 1] Case No. 16-10092-SMB (SDNYX 8/12/2016), page 19. The court
notes that on “the issue of solvency, a court need not conduct an exhaustive valuation; rather, the relevant mquiry is
whether a debtor appears to be hopelessly insolvent.” 7 at 13 citing Eastman Kodak, 2012 WL 2501071, at 3.

‘ See Monthly Operatmg Report for Reporting Period August 1, 2016 through August 31, 2016, page 6 [BCF No. 604].

 

 
 

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For all these reasons, the SEC staff believes that public shareholders in ths case would benefit
from representation by an equity committee. Such a committee’s contributions, through qualified
profssionals, could provide a substantial benefit to the estate and ulinmtely mame value for all
parties evolved.

appreciate your time and attention to this request. If you have any questions, please do
not hesitate to contact me at the above number.

Sincerely,
jf Alan S. Maza

Akn S. Maza

Cc: Martin J. Bienenstock, Esq. (Counsel for Certain Holders of Equity Securities)(via email)
Vincent Indelicato, Esq. (Counsel for Certain Holders of Equity Secunties)(via emnil)
Stephen Karotkin, Esq. (Counsel ior Debtors)(via emnil)

Gregory Allan Bray, Esq. (Counsel for Official Committee of Unsecured Credifor)(via email)

 

 

 
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References

 

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i See Debtors’ Cleansing Materials, Form 8-K dated December 10, 2020, available via

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¥ See Debtors’ Press Release Dated 05/01/2014, available via
https://www.globenewswire.com/news-

release/2014/05/01/632275/10079488 /en/Ferrellgas-to-Establish-Midstream-Division-With-
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https: //www.globenewswire.com/news-release/2018/08/01/1545902/0/en/Ferrellgas-
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vil See Hansen v. Ferrellgas Partners, L.P. et al., No. 1:16-cv-O7840-RJS (S.D.N.Y.) (filed Oct. 6,
2016); Eddystone Rail Co., LLC v. Bridger Logistics, LLC et al., No. 2:17-cv-00495 (E.D. Pa.) (filed
Feb. 2, 2017); Pierce v. James Ferrell et al., No. 2:17-cv-02160-JWL-GEB (D. Kan.) (filed Mar.
16, 2017).

vill See Debtors’ Form 8-K dated December 30, 2020, available via:
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* See Ferrellgas Partners, L.P. Form 10-K for the quarterly period ended October 31, 2020, at p.
72, available via:

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xIll See United States Energy Information Administration, “This Week in Petroleum.” Dated
01/27/21, available via: https: //www.eia.gov /petroleum/weekly /propane.php
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lv See Debtors’ Cleansing Materials, Form 8-K dated December 10, 2020, at p. 6, available at:
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Form 10-Q for the quarterly period ending October 31, 2020, available at:
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https: //www.sec.gov/Archives/edgar/data/922358/00009223581 500001 6/fgp_20150731x
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x* Section 6.10(d) of the Fifth Amended and Restated Partnership Agreement of Limited
Partnership of Ferrellgas Partners, L.P. provides:

Any standard of care and duty imposed by this Agreement or under the Delaware Act or any
applicable law, rule or regulation shall be modified, waived or limited as required to permit the
General Partner to act under this Agreement or any other agreement contemplated by this
Agreement and to make any decision pursuant to the authority prescribed in this Agreement so long
as such action is reasonably believed by the General Partner to be in, or not inconsistent with, the
best interests of the Partnership.

xxl See Debtors’ Form 10-K for Fiscal Year Ending July 31, 2020, at p. 46. “The partnership
agreements expressly permit the general partner to resolve conflicts of interest between itself or
its affiliates, on the one hand, and the company and its unitholders, on the other, and to consider,
in resolving such conflicts of interest, the interests of other parties in addition to the interests of the
unitholders. By the terms of the partnerships agreements, a purchaser of common units is deemed

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to have consented to specified conflicts of interest and actions of the general partner and its

affiliates that might otherwise be prohibited, including those described above, and to have

agreed that such conflicts of interest and actions do not constitute a breach by the general

partner of any duty stated or implied by law or equity.”

xxll See Debtors’ Form 10-K for Fiscal Year Ending July 31, 2015, at p. 47, available via:

https: //www.sec.gov/Archives/edgar/data/922358/00009223581 500001 6/fgp_20150731x

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xxiii See Debtors’ Complaint for Declaratory Judgment, Injunctive and Other Relief, Ferrell

Companies, Inc., as Plan Sponsor and Plan Administrator of the Ferrell Companies, Inc., Employee

Stock Ownership Plan v. GreatBanc Trust Company, Directed Trustee of the Ferrell Companies, Inc.

Employee Stock Ownership Trust, Case No. 2:19-CV-2656 (D. Ct. Kansas) (“2019 ESOP Trustee

Action”).

xxiv See 2019 ESOP Trustee Action, GreatBanc Trust Company’s Verified Answer, Defenses to
Plaintiff's Complaint and Counterclaims.

xxv See Debtors’ Disclosure Statement, at p. 92, available via:

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xxxl See Debtors’ Disclosure Statement, Exhibit D (Feasibility Analysis & Plan Value), available via:

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